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 9    Attorneys for Plaintiff Dr. Jonathan C. Ellis
10

11                           UNITED STATES DISTRICT COURT
12                          CENTRAL DISTRICT OF CALIFORNIA

13

14    DR. JONATHAN C. ELLIS, an individual ) Case No.: 2:18-cv-10077
                                           )
15                 Plaintiff,              )
16                                         ) COMPLAINT
            vs.                            )
17
      DUN AND BRADSTREET, INC., a          ) DEMAND FOR JURY TRIAL
18    Delaware Corporation, and DOES 1     )
      through 10, inclusive,               )
19                                         )
                   Defendants.             )
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                                           )
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                                      Complaint: Ellis v. Dun & Bradstreet
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 1    Plaintiff DR. JONATHAN C. ELLIS, by and through his attorneys, and for a complaint
 2    against the Defendants, hereby alleges as follows:
 3                                   NATURE OF THE CASE
 4          1.     This matter concerns the egregious and completely false defamation of a
 5    highly respected and well-regarded Beverly Hills gastroenterologist by business report
 6    specialist DUN AND BRADSTREET, INC. (“D&B”). Without any basis in fact, D&B
 7    falsely reported to users of its information services that Plaintiff DR. JONATHAN C.
 8    ELLIS (“Dr. Ellis” or “Plaintiff”) had been arrested and charged with multiple crimes
 9    based in pedophilia and arranging for sex with a minor. Moreover, D&B emphasized
10    the completely false allegations of pedophilia as a “Special Event” on its DNBi Risk
11    Management Report for Doheny Endosurgical Center, A Medical Corporation (“Doheny
12    Center”) where Dr. Ellis’ gastroenterology practice is based. D&B further repeated that
13    “Special Event” as having a negative impact on the creditworthiness ratings it gave to,
14    the Doheny Center, which was itself a paying customer of D&B.
15          2.     As a result of the outrageous and toxic defamation, Dr. Ellis has suffered
16    and continues to suffer extraordinary damages to his personal and professional
17    reputation, emotional distress, and significant economic losses.
18

19                                         THE PARTIES
20          3.     Plaintiff DR. JONATHAN C. ELLIS (“Dr. Ellis” or “Plaintiff”) is a
21    distinguished physician based in Beverly Hills, California and a resident of Los Angeles
22    County, California. With over thirty years of experience as a top gastroenterologist, Dr.
23    Ellis is widely known for his compassionate and expert patient care. Dr. Ellis has
24    garnered numerous awards and accolades over the years, including recognition as a top
25    doctor by Castle-Connolly and Best Doctors.
26          4.     Named ‘Top Two Best Gastroenterologists in LA’ by Angeleno magazine,
27    Dr. Ellis specializes in consultation and management involving all gastrointestinal
28    disorders, as well as numerous routine screenings and other specialized procedures. In

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 1    addition to his private practice specializing in diagnosing and treating gastrointestinal
 2    tract disorders, Dr. Ellis also teaches as an Associate Clinical Professor of Medicine at
 3    UCLA’s Geffen School of Medicine.
 4          5.     Dr. Ellis received his B.S. from Stanford University in 1978, majoring in
 5    biology and achieving honors in humanities. He continued at Stanford, finishing his
 6    M.D. in 1982, and went on to complete his residency in internal medicine at Cedars-
 7    Sinai Medical Center in Los Angeles where he served as Chief Resident, and then a
 8    fellowship at UCLA. Dr. Ellis holds Lifetime Board Certification in both Internal
 9    Medicine and Gastroenterology. Despite not being required to do so, in accordance with
10    his goal of ongoing excellence, Dr. Ellis participates in the Maintenance of Certification
11    (MOC) program instituted by the American Board of Internal Medicine.
12          6.     Dr. Ellis is not contracted with any health insurance programs, which alters
13    the mix of patients that he sees, making his excellent reputation even more critical to his
14    ability to attract and service new and continuing patients.
15          7.     As part of his medical practice, Dr. Ellis is an owner of and serves as the
16    Chief Executive Officer of Doheny Endosurgical Center, A Medical Corporation (the
17    “Doheny Center”). The Doheny Center is a physician owned state of the art outpatient
18    ambulatory surgical facility that focuses on providing the highest level of patient care in
19    a comfortable and safe environment.
20          8.     On information and belief, defendant DUN AND BRADSTREET, INC.
21    (“D&B”) is a Delaware corporation with its principal place of business in Short Hills,
22    New Jersey. At all times relevant hereto, D&B operated its business of providing
23    commercial data, analytics, and insights for businesses as further set forth herein. On
24    information and belief, D&B’s 2017 revenues were more than $1.7 Billion, with the
25    majority of its revenues coming from its “Risk Management Solutions” such as trade
26    credit worthiness reporting.
27          9.     Plaintiff does not know the true names or capacities, whether individual,
28    associate, corporate or otherwise, of the Defendants sued herein as Does l through 10,

                                      Complaint: Ellis v. Dun & Bradstreet
                                                        3
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 1    inclusive, and Plaintiff therefore sues said defendants by such fictitious names pursuant
 2    to Section 474 of the California Code of Civil Procedure. Plaintiff will amend this
 3    Complaint to state the true names and capacities of these defendants once Plaintiff
 4    discovers this information.
 5          10.    Plaintiff is informed and believes, and based thereon alleges that each of the
 6    Doe Defendants sued herein by a fictitious name is in some way liable and responsible to
 7    Plaintiff on the facts herein alleged for Plaintiff’s damages, and such injuries were
 8    proximately caused by such Defendants. Plaintiff is informed and believes and thereon
 9    allege that at all times relevant hereto, each of the defendants D&B and Does 1 through
10    10, inclusive (collectively “Defendants”) was the agent, affiliate, officer, director,
11    manager, principal, alter-ego, co-conspirator, and/or employee of the remaining
12    Defendants and was at all times acting within the scope of such agency, affiliation, alter-
13    ego relationship and/or employment; and actively participated in or subsequently ratified
14    and adopted, or both, each and all of the acts or conduct alleged, with full knowledge of
15    all the facts and circumstances, including, but not limited to, full knowledge of each and
16    every violation of the Plaintiff’s rights and the damages to the Plaintiff proximately
17    caused thereby.
18                                     JURISDICTION AND VENUE
19          11.    This Court has subject matter jurisdiction under 28 U.S.C. § 1332, as the
20    suit is between parties that are citizens of different States and that the amount in
21    controversy exceeds $75,000, exclusive of interest and costs.
22          12.    This Court has personal jurisdiction over the Defendants as D&B conducts
23    substantial business in Los Angeles, California and their tortious and unlawful conduct
24    occurred in and/or was directed at California.
25          13.    This district is the proper venue pursuant to 28 U.S.C. § 1391 because
26    Plaintiff resides herein, and a substantial part of the acts or omissions giving rise to
27    Plaintiff’s claims occurred in this District, and, on information and belief, Defendants
28    are subject to jurisdiction within the district and do business in this District.

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 1                                 FACTUAL BACKGROUND
 2          14.    On information and belief, in or about April 2018, Defendants modified
 3    D&B’s DNBi Risk Management Report (one of D&B’s “Risk Management Solutions”
 4    products) regarding Doheny Center (the “Report”) with a “Special Event” as follows:
 5          “04/17/2018 -CRIMINAL PROCEEDINGS :
 6          According to a published report dated Apr 12, 2018, Jonathon Ellis was arrested
 7          and charged with four felony counts of distributing or showing pornography to a
 8          minor and one misdemeanor count of arranging a meeting with a minor for lewd
 9          purpose.”
10    A true and correct copy of the Report is attached hereto as Exhibit A.
11          15.    The Report further identified Dr. Ellis as the Chief Executive of the Doheny
12    Center. The report repeatedly noted the “Special Event” as a key factor in its negative
13    rating of the Doheny Center’s credit worthiness.
14          16.    The allegation that Dr. Ellis was arrested and charged with pedophilia
15    crimes is absolutely false. Instead, it appears that D&B falsely connected Dr. Ellis with
16    a report that an entirely different person had been arrested, Jonathon Ellis of Long
17    Beach, California. On information and belief, the arrested Jonathon Ellis was 35 at the
18    time of his arrest, worked as a general physician at the College Medical Center in Long
19    Beach, looks nothing like Dr. Ellis, and even spells his first name differently from Dr.
20    Ellis. The reportedly arrested Jonathon Ellis has no connection whatsoever to Dr. Ellis
21    or the Doheny Center and even a minimal amount of investigation would have revealed
22    as much to Defendants, such that Defendants had no reasonable basis to believe that any
23    statements about Jonathon Ellis were connected to Dr. Ellis or the Doheny Center.
24          17.    D&B’s false claim that Dr. Ellis was involved in pedophilia was published
25    by Defendants to multiple people in the community, especially those with professional
26    connections and existing business relationships with Dr. Ellis and his practice at the
27    Doheny Center. The false accusation made by Defendants has spread from the D&B
28


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 1    report and among the community, causing further damage to Plaintiff’s reputation and
 2    business.
 3                                  FIRST CAUSE OF ACTION
 4                          (LIBEL PER SE– Against All Defendants)
 5          18.    Plaintiff hereby re-alleges, as if fully set forth herein, the allegations of the
 6    preceding paragraphs.
 7          19.    The Report is libelous because the language therein contains defamatory
 8    meanings, as opposed to innocent meanings. The Report falsely charges Dr. Ellis with
 9    credible allegations of criminal pedophilia (i.e. sending multiple lewd pictures to a minor
10    and arranging for a sexual encounter with a minor), thereby making false and
11    unprivileged statements about Plaintiff that have a tendency of injuring Plaintiff’s
12    reputation in the community and in his business.
13          20.    The Report is libelous on its face because it charges Dr. Ellis with
14    pedophilia and Doheny Center with being run by a pedophile.
15          21.    The Report’s defamatory statements were either known by D&B and DOES
16    (collectively “Defendants”) to be false or Defendants acted in reckless disregard of the
17    truth and the rights of Plaintiff when they wrote and published the Report with the
18    defamatory statements. Defendants acted without any reasonable basis for believing the
19    truth of the statements made in the Report, despite D&B’s business model intending that
20    the Report would be viewed and relied upon by persons who were in existing or
21    potential business relationships with Plaintiff, such as other medical professionals,
22    patients, prospective patients, employees, prospective employees, and other persons
23    considering whether to enter into business relationships with Plaintiff.
24          22.    As a result of the Report, Plaintiff has suffered loss of business
25    opportunities, loss of reputation, emotional distress, shame, mortification and hurt
26    feelings, all to his general damage in an amount to be proven at trial, but not less than
27    $15,000,000.
28


                                      Complaint: Ellis v. Dun & Bradstreet
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 1          23.    Plaintiff alleges that the defamatory content of the Report was written and
 2    published by Defendants with malice and/or oppression in that the content of the
 3    postings contain false, defamatory statements that were made by Defendants with
 4    extreme indifference to Plaintiff’s rights, at a level which decent citizens should not have
 5    to tolerate. Plaintiff is therefore entitled to punitive damages.
 6                                 SECOND CAUSE OF ACTION
 7                   (FALSE LIGHT PUBLICITY – Against All Defendants)
 8          24.    Plaintiff hereby re-alleges, as if fully set forth herein, the allegations of the
 9    preceding paragraphs.
10          25.    As set forth more fully above, Defendants publicized information or
11    material that showed Dr. Ellis and the Doheny Center in a false light by connecting Dr.
12    Ellis to a criminal arrest for charges of pedophilia and Doheny Center with being owned
13    and run by a pedophile.
14          26.    As is apparent from the reprehensible pedophilia alleged by the Report, the
15    false light created by the publication would be highly offensive to a reasonable person in
16    Plaintiff’s position;
17          27.    Defendants either knew the publication would create a false impression
18    about Dr. Ellis and Doheny Center, acted with reckless disregard for the truth, and/or
19    was grossly negligent in determining the truth of the implication created by its
20    publication in the Report.
21          28.    Plaintiff sustained harm to his property, business, profession, or occupation,
22    emotional distress, emotional distress, shame, mortification and hurt feelings and
23    Defendants’ acts in publishing the statement placing Plaintiff in a false light was a
24    substantial factor in causing Plaintiff’s harm.
25          29.    Plaintiff alleges that the offensive and false light created by the Report was
26    written and published by Defendants with malice and/or oppression in that the content of
27    the Report contains false and derogatory statements that were made by Defendants with
28


                                       Complaint: Ellis v. Dun & Bradstreet
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 1    extreme indifference to Plaintiff’s rights, at a level which decent citizens should not have
 2    to tolerate. Plaintiff is therefore entitled to punitive damages.
 3

 4                                               PRAYER
 5    WHEREFORE, Plaintiff prays for judgment against Defendants as follows:
 6       1. General damages in an amount according to proof but no less than $15,000,000;
 7       2. Special damages in an amount according to proof but no less than $7,500,000;
 8       3. Punitive damages;
 9       4. Interest in an amount according to proof;
10       5. Reasonable attorneys' fees and costs of suit incurred herein; and
11       6. Such further relief as the Court may deem just and proper.
12

13    Date: December 3, 2018            SYVERSON, LESOWITZ & GEBELIN LLP
14

15                                              By:      _____________________________
16                                                    Erik S. Syverson
                                                      Steven T. Gebelin
17
                                                      Scott M. Lesowitz
18                                              Attorneys for Plaintiff Dr. Jonathan C. Ellis
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 1                             DEMAND FOR TRIAL BY JURY
 2          Plaintiff DR. JONATHAN C. ELLIS hereby demands a jury trial as provided by
 3    Rule 38(a) of the Federal Rules of Civil Procedure and L.R. 38-1.
 4

 5    Date: December 3, 2018         SYVERSON, LESOWITZ & GEBELIN LLP
 6

 7                                           By:      _____________________________
 8                                                 Erik S. Syverson
 9
                                                   Steven T. Gebelin
                                                   Scott M. Lesowitz
10                                           Attorneys for Plaintiff Dr. Jonathan C. Ellis
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 1                                      EXHIBIT A
 2

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                               Complaint: Ellis v. Dun & Bradstreet
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                                                                                                        Printed By:Patrick McAtee
                                                                                                        Date Printed:May 23, 2018




Disclaimer: The software and information ("Services") accessed herein were developed exclusively at private expense, and are proprietary to Dun & Bradstreet,
Inc., and its affiliates and subsidiaries (collectively, "D&B"), and may include copyrighted works, trade secrets, or other materials created by D&B at great effort and
expense.

If the Customer accessing the Services is part of the executive, legislative or judicial branches of the U.S. Federal Government, the Services contained herein are a
Commercial Item as that term is defined in FAR 2.101, and are comprised of Technical Data, Computer Software and Computer Software Documentation as those
terms are defined in FAR 52.227-14(a) and DFAR 252.227-13.

Customer's rights to use the Services are as described in the government contract signed between D&B and the Government.

Under no circumstances will the Customer accessing the Services have greater rights in the Services provided hereunder than "Limited Rights" as that term is
defined in FAR 52.227-14 (ALT II) and DFAR 252.227-7013(f) and "Restricted Rights" as that term is defined in FAR 52.227-14 (ALT III) and DFAR 252.227-7014(f),
respectively.

  Account : DOHENY ENDOSURGICAL CENTER A
  D-U-N-S® Number: 62-442-6107 - DOHENY ENDOSURGICAL CENTE
  Account Number: 20025799
  Endorsement/Billing Reference: Patrick.McAtee@olympus.com


                                                                                                                  Assigned to: Credit Department
   D&B Address
                                                           Account Address
                                                                                                                  Account Created: 01/08/2018
                  Address 9090 Wilshire Blvd Ste                     Address 9090 WILSHIRE BLVD, STE
                             100                                                100                               Last View Date: 05/22/2018
                             Beverly Hills, CA, US -                            BEVERLY HILLS, CA, US -
                             90211                                              90211-1849                        Last Import Date:01/08/2018
                    Phone 310 246-2555                                 Phone
                        Fax 310-285-0819                                                                          Endorsement :       Patrick.McAtee@olympu
                                                                          Fax                                                         s.com
            Location Type Single Location




  Company Summary

                                                                                                          Currency: Shown in USD unless otherwise indicated

   Score Bar


    PAYDEX®                                                                     69                                Paying 16 days past due

    Commercial Credit Score                                                                                       Moderate to High Risk of severe payment
    Percentile                                                                  20                                delinquency.

    Financial Stress Score National
    Percentile                                                                  1                                 High Risk of severe financial stress.

    D&B Viability Rating
                                                                                                                  View More Details

    Bankruptcy Found                                                            No
    D&B Rating                                                                                                    The information available does not permit us to
                                                                                DS                                classify the company.




    Account Review Reasons




     Status: No Action Recommended




                                                                                                                                                                      1
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                                                                   D&B Viability Rating


Status: No Action Recommended

                                                                               Viability Score: 7




                                                                               Portfolio Comparison: 9


Detailed Trade Risk Insight™

                                                                               Data Depth Indicator: B
Days Beyond Terms Past 3 Months


        0                                                                      Company Profile: K
        Days
                                                                               Financial                       Company         Years in
                                                                                             Trade Payments
                                                                                 Data                            Size          Business
        Dollar-weighted average of 3 payment                                                   Available
                                                                             Not Available                        Small       Established
        experiences reported from 3 Companies                                                  (3+Trade)

Recent Derogatory Events
                                                                   Current Credit Terms
                           Mar-18    Apr-18     May-18


 Placed for Collection       -          -         -                Actual Credit Limit(USD)                               Not Set
                                                                   Previous Credit
                                                                                                                    Not Available
 Bad Debt Written Off        -          -         -                Limit(USD)

                                                                   Actual Payment Terms                                   Not Set
                                                                   Actual Early Payment
                                                                                                                          Not Set
                                                                   Discount

                                                                   Actual Term Status                                     Not Set
                                                                   Total Outstanding                                          0.00
                                                                   Credit Limit Remaining




                                                                   Company Overview


                                                                   This is a single location

                                                                   Chief Executive                         JONATHAN C ELLIS,
                                                                                                           PRIN
                                                                   Year Started                            2006
                                                                   Employees                               UNDETERMINED
                                                                   SIC                                     8011
                                                                   Line of business                        Medical doctor's
                                                                                                           office
                                                                   NAICS                                   621493



                                                                   FirstRain Company News




                                                                          This Company is not currently tracked for Company
                                                                          News



                                                                   Powered by FirstRain




                                                                   Public Filings


                                                                                                                                            2
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                                                                               The following data includes both open and closed filings
                                                                               found in D&B's database on this company.

                                                                                                   Number of            Most Recent
                                                                                Record Type
                                                                                                   Records              Filing Date

                                                                               Bankruptcies        0                   -
                                                                               Judgments           0                   -

                                                                               Liens               0                   -

                                                                               Suits               0                   -

                                                                               UCCs                0                   -


                                                                               The public record items contained herein may have been
                                                                               paid, terminated, vacated or released prior to today's date.




Predictive Scores

                                                                                                    Currency: Shown in USD unless otherwise indicated

 D&B Viability Rating Summary


 The D&B Viability Rating uses D&B's proprietary analytics to compare the most predictive business risk indicators and deliver a highly reliable
 assessment of the probability that a company will go out of business, become dormant/inactive, or file for bankruptcy/insolvency within the next 12
 months. The D&B Viability Rating is made up of 4 components:




                                Viability Score                                        Lowest Risk:1                Highest Risk:9




      Compared to All US Businesses within the D&B Database:


          Level of Risk: High to Moderate Risk
          Businesses ranked 7 have a probability of becoming no longer viable: 27 %
          Percentage of businesses ranked 7: 14 %
          Across all US businesses, the average probability of becoming no longer viable: 14 %



                                Portfolio Comparison                                   Lowest Risk:1                Highest Risk:9




      Compared to All US Businesses within the same MODEL SEGMENT:


          Model Segment : Established Trade Payments
          Level of Risk: High Risk
          Businesses ranked 9 within this model segment have a probability of becoming no longer viable: 23 %
          Percentage of businesses ranked 9 with this model segment: 3 %
          Within this model segment, the average probability of becoming no longer viable: 5 %




                                                                                                                                                        3
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                               Data Depth Indicator                                  Predictive Data:A          Descriptive Data:G




     Data Depth Indicator:


         Rich Firmographics
         Extensive Commercial Trading Activity
         Basic Financial Attributes

     Greater data depth can increase the precision of the D&B Viability Rating assessment.

                                                                                                Trade                                Years in
                                                                        Financial Data                          Company Size
                                                                                              Payments                               Business
                               Company Profile
                                                                                            Available (3+
                                                                         Not Available                              Small           Established
                                                                                               Trade)


     Company Profile Details:


         Financial Data: Not Available
         Trade Payments: Available (3+ Trade)
         Company Size: Small (Employees: <10 and Sales: <$10K or Missing)
         Years in Business: Established (5+)




Credit Capacity Summary

This credit rating was assigned because of D&B's assessment of the company's creditworthiness. For more information, see the

D&B Rating Key

D&B Rating :         DS

The DS rating indicates that the information available does not permit D&B to classify the company within our rating key.

                                                     Number of Employees Total:                         UNDETERMINED




                                                      Payment Activity:                                 (based on 11 experiences)
                                                     Average High Credit:                               810
                                                     Highest Credit:                                    2,500
                                                     Total Highest Credit:                              9,550




D&B Credit Limit Recommendation


Due to adverse or incomplete information, we are unable to provide a Credit Limit Recommendation for this business. Please contact your sales
representative or D&Bs Customer Resource Center at 800-234-3867 for assistance.

The Credit Limit Recommendation (CLR) is intended to serve as a directional benchmark for all businesses within the same line of business or industry,
and is not calculated based on any individual business. Thus, the CLR is intended to help guide the credit limit decision, and must be balanced in
combination with other elements which reflect the individual company's size, financial strength, payment history, and credit worthiness, all of which can be
derived from D&B reports.

Risk is assessed using D&Bs scoring methodology and is one factor used to create the recommended limits. See Help for details.




Financial Stress Class Summary
                                                                                                                                                               4
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The Financial Stress Score predicts the likelihood of a firm ceasing business without paying all creditors in full, or reorganization or obtaining relief from
creditors under state/federal law over the next 12 months. Scores were calculated using a statistically valid model derived from D&Bs extensive data files.

The Financial Stress Class of 5 for this company shows that firms with this class had a failure rate of 4.7% (470 per 10,000), which is 9.79 times higher
than the average of businesses in D & B's database.



                                             (Lowest Risk:1; Highest Risk:5)
Financial Stress Class :             5
Higher than average risk of severe financial stress, such as a bankruptcy or going out of business with unpaid debt, over the next 12 months.

Probability of Failure:


     Risk of Severe Financial Stress for Businesses with this Class: 4.70 % (470 per 10,000)
     Financial Stress National Percentile : 1 (Highest Risk: 1; Lowest Risk: 100)
     Financial Stress Score : 1268 (Highest Risk: 1,001; Lowest Risk: 1,875)
     Average Risk of Severe Financial Stress for Businesses in D&B database: 0.48 % ( 48 per 10,000)



The Financial Stress Class of this business is based on the following factors:


     Low Paydex Score.
     Low proportion of satisfactory payment experiences to total payment experiences.
     High proportion of slow payment experiences to total number of payment experiences.
     UCC Filings reported.
     Limited time in business
     Special Event in the D & B Report



Notes:


     The Financial Stress Class indicates that this firm shares some of the same business and financial characteristics of other companies with this
     classification. It does not mean the firm will necessarily experience financial stress.
     The Probability of Failure shows the percentage of firms in a given Class that discontinued operations over the past year with loss to creditors. The
     Probability of Failure - National Average represents the national failure rate and is provided for comparative purposes.
     The Financial Stress National Percentile reflects the relative ranking of a company among all scorable companies in D&Bs file.
     The Financial Stress Score offers a more precise measure of the level of risk than the Class and Percentile. It is especially helpful to customers
     using a scorecard approach to determining overall business performance.




                                                                                                                                                                 5
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 Norms                                                      National %

This Business                                               1
Region: PACIFIC                                             52
Industry: HEALTH CARE SERVICES                              58
Employee range:                                             UN
Years in Business: 11-25                                    68

This Business has a Financial Stress Percentile that shows:


Higher risk than other companies in the same region.

Higher risk than other companies in the same industry.

Higher risk than other companies with a comparable number of years in business.



Credit Score Summary


The Commercial Credit Score (CCS) predicts the likelihood of a business paying its bills in a severely delinquent manner (91 days or more past terms).

The Credit Score class of 4 for this company shows that 9.4% of firms with this class paid one or more bills severely delinquent, which is lower than the
average of businesses in D & B's database.

                                      Lowest Risk:1;Highest Risk :5
Credit Score Class :          4
Incidence of Delinquent Payment

     Among Companies with this Classification: 9.40 %
     Average compared to businesses in D&Bs database: 10.20 %
     Credit Score Percentile : 20 (Highest Risk: 1; Lowest Risk: 100)
     Credit Score : 473 (Highest Risk: 101; Lowest Risk:670)



The Credit Score Class of this business is based on the following factors:

     Recent high balance past due
     Higher risk industry based on delinquency rates for this industry
     Special Event in the D & B Report



Notes:

     The Commercial Credit Score Risk Class indicates that this firm shares some of the same business and financial characteristics of other companies
     with this classification. It does not mean the firm will necessarily experience severe delinquency.
     The Incidence of Delinquent Payment is the percentage of companies with this classification that were reported 91 days past due or more by
     creditors. The calculation of this value is based on D&B's trade payment database.
     The Commercial Credit Score percentile reflects the relative ranking of a firm among all scorable companies in D&B's file.
     The Commercial Credit Score offers a more precise measure of the level of risk than the Risk Class and Percentile. It is especially helpful to
     customers using a scorecard approach to determining overall business performance.




 Norms                                                 National %

This Business                                          20
Region: PACIFIC                                        50
Industry: HEALTH CARE SERVICES                         69
Employee range:                                        UN
Years in Business: 11-25                               66



This business has a Credit Score Percentile that shows:

Higher risk than other companies in the same region.

Higher risk than other companies in the same industry.

Higher risk than other companies with a comparable number of years in business.




                                                                                                                                                            6
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Trade Payments

                                                                                                           Currency: Shown in USD unless otherwise indicated

 D&B PAYDEX®


 The D&B PAYDEX is a unique, weighted indicator of payment performance based on payment experiences as reported to D&B by trade references.
 Learn more about the D&B PAYDEX




 Timeliness of historical payments for this company.

 Current PAYDEX is               69    Equal to 16 days beyond terms ( Pays more slowly than the average for its industry of generally within terms )
 Industry Median is              80    Equal to generally within terms
 Payment Trend currently is            Unchanged, compared to payments three months ago




 Indications of slowness can be the result of dispute over merchandise, skipped invoices etc. Accounts are sometimes placed for collection even though
 the existence or amount of the debt is disputed.




 Total payment Experiences in D&Bs File (HQ)                                                  11
 Payments Within Terms (not weighted)                                                     61 %
 Trade Experiences with Slow or Negative Payments(%)                                     27.27%
 Total Placed For Collection                                                                   0
 Average High Credit                                                                          810
 Largest High Credit                                                                      2,500
 Highest Now Owing                                                                        2,500
 Highest Past Due                                                                         1,000




                          69
                                      (Lowest Risk:100; Highest Risk:1)
 D&B PAYDEX® :
 When weighted by amount, payments to suppliers average 16 days beyond terms




                                        77
                                                     (Lowest Risk:100; Highest Risk:1)
 3-Month D&B PAYDEX® :
 Based on payments collected over last 3 months.

 When weighted by amount, payments to suppliers average 5 days beyond terms




 D&B PAYDEX® Comparison

 Current Year

 PAYDEX® of this Business compared to the Primary Industry from each of the last four quarters. The Primary Industry is Medical doctor's office , based
 on SIC code 8011 .



                                            Shows the trend in D&B PAYDEX scoring over the past 12 months.

                          6/17     7/17      8/17      9/17     10/17     11/17     12/17           1/18    2/18    3/18    4/18    5/18
 This Business              65        68       68        65        68        65          65          69       67      67      69     69
 Industry Quartiles
 Upper                      80          .        .       80          .         .         80            .        .     80        .      .
 Median                     80          .        .       80          .         .         80            .        .     80        .      .
 Lower                      75          .        .       74          .         .         74            .        .     74        .      .



                                                                                                                                                               7
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     Current PAYDEX for this Business is 69 , or equal to 16 days beyond terms
     The 12-month high is 69 , or equal to 16 DAYS BEYOND terms
     The 12-month low is 65 , or equal to 19 DAYS BEYOND terms




Previous Year

Shows PAYDEX of this Business compared to the Primary Industry from each of the last four quarters. The Primary Industry is Medical doctor's office ,
based on SIC code 8011 .




                                                           06/16                 09/16                  12/16             03/17
 Previous Year
                                                           Q2'16                 Q3'16                  Q4'16             Q1'17

This Business                                                    68                  68                    67                 66
Industry Quartiles

Upper                                                            80                  80                    80                 80
Median                                                           80                  80                    80                 80
Lower                                                            75                  74                    74                 74


Based on payments collected over the last 4 quarters.

     Current PAYDEX for this Business is 69 , or equal to 16 days beyond terms
     The present industry median Score is 80 , or equal to generally within terms
     Industry upper quartile represents the performance of the payers in the 75th percentile
     Industry lower quartile represents the performance of the payers in the 25th percentile




Payment Habits

For all payment experiences within a given amount of credit extended, shows the percent that this Business paid within terms. Provides number of
experiences to calculate the percentage, and the total credit value of the credit extended.



 Credit Extended                 # Payment Experiences                Total Amount                 % of Payments Within Terms

Over 100,000                                 0                             0                                    0%

50,000-100,000                               0                             0                                    0%

15,000-49,999                                0                             0                                    0%

5,000-14,999                                 0                             0                                    0%

1,000-4,999                                  2                           3,500                                  64%

Under 1,000                                  3                            550                                   68%



Based on payments collected over last 24 months.

Payment experiences reflect how bills are paid in relation to the terms granted. In some instances, payment beyond terms can be the result of disputes
over merchandise, skipped invoices, etc.




Payment Summary


There are 11 payment experience(s) in D&Bs file for the most recent 24 months, with 8 experience(s) reported during the last three month period.

The highest Now Owes on file is 2,500 . The highest Past Due on file is 1,000

Below is an overview of the company's currency-weighted payments, segmented by it's supplier's primary industries




                                   Total                                         Within    Days Slow
                                                 Total           Largest High
                                   Revd                                          Terms     <31 31-60 61-90 90>
                                                 Amts            Credit
                                   (#)                                           (%)       (%) (%)

 Top Industries
 Mfg medical instrmnt                  1                 2,500           2,500     50     50   0    0     0
 Ret misc merchandise                  1                 1,000           1,000    100     0    0    0     0

                                                                                                                                                         8
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  Ret stationery                         1                   250               250     100     0     0    0    0
  Whol electrical equip                  1                     50               50      0      0     0    0    100
  Misc business credit                   1                   250                 0      50     50    0    0    0
  Other payment categories

  Cash experiences                       6                 5,500            2,500
  Payment record unknown                 0                      0                0
  Unfavorable comments                   0                      0                0
  Placed for collections                 0                   N/A                 0
  Total in D&B's file                    11                9,550            2,500




 Accounts are sometimes placed for collection even though the existence or amount of the debt is disputed.

 Indications of slowness can be result of dispute over merchandise, skipped invoices, etc.



  Detailed payment history for this company


  Date                                                                                                                     Last Sale
                                                                                                                Selling
  Reported         Paying Record                 High Credit             Now Owes             Past Due                     Within
                                                                                                                Terms
  (mm/yy)                                                                                                                  (month)

  04/18            Ppt                                         250                      0                 0 N60            4-5 mos
                   Ppt-Slow 30                                                        250                 0                1 mo
                   (003)                                    2,500                       0                 0 Cash           2-3 mos
                                                                                                            account
                   (004)                                    1,000                       0                 0 Cash           1 mo
                                                                                                            account
                   (005)                                       500                      0                 0 Cash           2-3 mos
                                                                                                            account
                   (006)                                       500                      0                 0 Cash           1 mo
                                                                                                            account
                   (007)                                       250                      0                 0 Cash           2-3 mos
                                                                                                            account
  03/18            Ppt                                      1,000                     500                 0                1 mo
  08/17            (009)                                       750                                            Cash         1 mo
                                                                                                              account
  04/16            Ppt-Slow 30                              2,500                    2,500           1,000                 1 mo
                   Slow 120                                    50                      50                50




  Payments Detail Key:        30 or more days beyond terms

 Payment experiences reflect how bills are paid in relation to the terms granted. In some instances payment beyond terms can be the result of disputes
 over merchandise, skipped invoices, etc. Each experience shown is from a separate supplier. Updated trade experiences replace those previously
 reported.




Public Filings

                                                                                                         Currency: Shown in USD unless otherwise indicated

 Summary


 A check of D&B's public records database indicates that no filings were found for DOHENY ENDOSURGICAL CENTE at 9090 Wilshire Blvd Ste 100 ,
 Beverly Hills CA .

 D&B's extensive database of public record information is updated daily to ensure timely reporting of changes and additions. It includes business-related
 suits, liens, judgments, bankruptcies, UCC financing statements and business registrations from every state and the District of Columbia, as well as
 select filing types from Puerto Rico and the U.S. Virgin Islands.

 D&B collects public records through a combination of court reporters, third parties and direct electronic links with federal and local authorities. Its
 database of U.S. business-related filings is now the largest of its kind.

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  Special Events

                                                                                                         Currency: Shown in USD unless otherwise indicated

    Special Events


     04/17/2018 -CRIMINAL PROCEEDINGS :

     According to a published report dated Apr 12, 2018, Jonathon Ellis was arrested and charged with four felony counts of distributing or showing
     pornography to a minor and one misdemeanor count of arranging a meeting with a minor for lewd purpose.



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252.227-7014(f), respectively.



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